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                                       [Case caption follow on next page]



     Joint Stipulation To Extend Time                                             5:22-cv-00501-BLF
                                   UNITED STATES DISTRICT COURT
 1
 2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 3                                         SAN JOSE DIVISION
 4
       NATIONAL ASSOCIATION FOR GUN                       Case No. 5:22-cv-00501-BLF
 5     RIGHTS, INC., a non-profit corporation, and
       MARK SIKES, an individual,                         JOINT STIPULATION AND PROPOSED
 6                                                        ORDER (1) EXTENDING TIME TO
 7                   And                                  RESPOND TO DEFENDANTS’ MOTION
                                                          TO DISMISS (ECF # 95); AND (2) JOINT
 8     HOWARD JARVIS TAXPAYERS ASSN., a                   REQUEST FOR A NEW CASE
       nonprofit corporation, SILICON VALLEY              MANAGEMENT SCHEDULING ORDER
 9     TAXPAYERS ASSN., a nonprofit corporation,
10     SILICON VALLEY PUBLIC                              Courtroom: 3-5th Floor
       ACCOUNTABILITY FOUNDATION, a                       Judge: Honorable Beth Labson Freeman
11     nonprofit corporation, JIM BARRY, an
       individual, and GEORGE ARRINGTON, an               Complaint Filed: January 25, 2022
12     individual,
13                   Plaintiffs,
14                   v.
15
       CITY OF SAN JOSE, a public entity,
16     JENNIFER MAGUIRE, in her official capacity
       as City Manager of the City of San Jose, and the
17     CITY OF SAN JOSE CITY COUNCIL,
18
19                   Defendants.

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     Joint Stipulation To Extend Time                                            5:22-cv-00501-BLF
 1          SUBJECT TO THE COURT’S APPROVAL, and pursuant to L.R. 6-2, the Plaintiffs—National
 2   Association For Gun Rights, Inc., Mark Sikes, Howard Jarvis Taxpayers Assn., Silicon Valley
 3   Taxpayers Assn., Silicon Valley Public Accountability Foundation, Jim Barry, and George Arrington—
 4   and Defendants—City Of San Jose, Jennifer Maguire, in her official capacity as City Manager of the
 5   City of San Jose, and the City Of San Jose City Council—hereby stipulate and agree that the Plaintiffs’
 6   deadline to respond to Defendants’ motion to dismiss (ECF #95) will be March 16, 2023, and the
 7   Defendants’ deadline to reply will be March 30, 2023. This is a two-week extension for both responses
 8   and replies.
 9          The parties also stipulate, agree, and request that the Court vacate each of the future dates set
10   forth in the Case Management Scheduling Order (ECF # 58), which was entered before consolidation.
11   The parties further request that the Court set a Case Management Conference after the Court rules on
12   Defendants’ currently pending Motion to Dismiss the Amended Consolidated Complaint (ECF # 95,
13   96), for the purpose of setting a new trial date and all other attendant dates thereto.
14                                           [Signatures on Next Page]
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     Joint Stipulation To Extend Time                                                          5:22-cv-00501-BLF
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 2   Dated: February 28, 2023           DHILLON LAW GROUP INC.
 3
 4                                              By: _/s/ Harmeet K. Dhillon_________
                                                Harmeet K. Dhillon
 5
                                                Michael A. Columbo
 6                                              Mark P. Meuser
                                                David A. Warrington (pro hac vice)
 7
 8   Dated: February 28, 2023           HOWARD JARVIS TAXPAYERS FOUNDATION
 9
10                                              By: _/s/ Timothy A. Bittle
                                                Jonathan M. Coupal
11
                                                Timothy A. Bittle
12                                              Laura E. Dougherty

13
     Dated: February 28, 2023           COTCHETT, PITRE & McCARTHY, LLP
14
15
                                                By: _/s/ Tamarah P. Prevost_________
16                                              Joseph W. Cotchett
17                                              Tamarah P. Prevost
                                                Andrew F. Kirtley
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     Joint Stipulation To Extend Time                                        5:22-cv-00501-BLF
 1                             DECLARATION OF MICHAEL A. COLUMBO
 2
 3          I, Michael A. Columbo, declare that counsel have met and conferred about this stipulation. That
 4   counsel whose signatures are reflected on the preceding page gave approval to this stipulation.
 5
 6          Pursuant to Local Rule 6-2, I further declare that the reasons for the requested enlargement of
 7   time have to do with accommodating the press of business on counsel, that there have been no previous
 8   time modifications in this case, and that I would describe the effect of the time modification requested
 9   here as being minimal.
10
11          I declare under penalty of perjury under the laws of the United States of America that the
12   foregoing is true and correct. Executed on February 28, 2023.
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14                                                /s/ Michael A. Columbo
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     Joint Stipulation To Extend Time                                                   5:22-cv-00501-BLF
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10                                 UNITED STATES DISTRICT COURT

11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                         SAN JOSE DIVISION
13
       NATIONAL ASSOCIATION FOR GUN                       Case No. 5:22-cv-00501-BLF
14     RIGHTS, INC., a non-profit corporation, and
       MARK SIKES, an individual,                         [ PROPOSED] ORDER (1) EXTENDING
15                                                        TIME TO RESPOND TO DEFENDANTS’
16                   And                                  MOTION TO DISMISS (ECF # 95); AND
                                                          (2) GRANTING JOINT REQUEST FOR A
17     HOWARD JARVIS TAXPAYERS ASSN., a                   NEW CASE MANAGEMENT
       nonprofit corporation, SILICON VALLEY              SCHEDULING ORDER
18
       TAXPAYERS ASSN., a nonprofit corporation,
19     SILICON VALLEY PUBLIC
       ACCOUNTABILITY FOUNDATION, a
20     nonprofit corporation, JIM BARRY, an
       individual, and GEORGE ARRINGTON, an
21
       individual,
22                   Plaintiffs,
23                   v.
24
       CITY OF SAN JOSE, a public entity,
25     JENNIFER MAGUIRE, in her official capacity
26     as City Manager of the City of San Jose, and the
       CITY OF SAN JOSE CITY COUNCIL,
27
28                   Defendants.




     Joint Stipulation To Extend Time                                          5:22-cv-00501-BLF
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12   Defendants’ currently pending Motion to Dismiss the Amended Consolidated Complaint (ECF # 95,
13   96), for the purpose of setting a new trial date and all other attendant dates thereto.
14          PURSUANT TO THE STIPULATION, IT IS SO ORDERED, the Court sets a Case
15                              August 17, 2023
     Management Conference for ___________________________________.
16
17          March 1, 2023
     DATED:____________                             ______________________________________
                                                    Hon. Beth Labson Freeman
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                                                    United States District Judge
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     Joint Stipulation To Extend Time                                                          5:22-cv-00501-BLF
